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                                                                           December 17, 2020

Honorable Stephanie A. Gallagher
USDC-MD
101 West Lombard St.
Baltimore, MD 21201

Re:    LAUFER   v.   BRE/ESA P PORTFOLIO, LLC., Civil Case No. 1:20-cv-1973
       LAUFER   v.   PRESTIGE HOSPITALITY GROUP, LLC, Civil Case No. 1:20-cv-02119-CCB
       LAUFER   v.   2 RESEARCH COURT LLC, Civil Case No. 8:20-cv-2394
       LAUFER   v.   BWI HOTEL HOLDINGS II LLC, Civil Case No. 1:20-cv-3250
       LAUFER   v.   AKSHAR CORPORATION, Civil Case No. 1:20-cv-3251
       LAUFER   v.   VASU INC., Civil Case No. 1:20-cv-3264
       LAUFER   v.   PATEL, Civil Case No. 1:20-cv-03265



Dear Judge Gallagher:

       In response to your December 16, 2020 letter/ order regarding the above-referenced

matters, this Court instructed Plaintiff to file a statement as to whether the above-

referenced matters are distinguishable from Laufer v. Naranda Hotels, LLC, Civil Case No.

SAG-20-2136, and Laufer v. Ft. Meade Hospitality, LLC, Civil Case No. SAG-20-1974. In

response to same, these cases are, in fact, substantially similar.


       Very respectfully,

       /s/Tristan W. Gillespie
